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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION



UNITED STATES OF AMERICA,

                Plaintiff,
                                                          CASE NO. 1:20-cr-183
v.
                                                          HON. ROBERT J. JONKER
ADAM DEAN FOX, et al.,

            Defendants.
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                                    ORDER TO RESPOND

         On today’s date, the government filed a motion for mental evaluation as to defendant

Franks. ECF No. 423. Responses to the motion shall be filed not later than January 28, 2022.



Dated:      January 25, 2022                /s/ Robert J. Jonker
                                            ROBERT J. JONKER
                                            CHIEF UNITED STATES DISTRICT JUDGE
